






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-236 CR


____________________



HARRY HENRY LOUIS, III, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 87811






OPINION


	Harry Henry Louis, III appeals his conviction by a jury for the offense of
Aggravated Robbery, alleged to have occurred on or about October 10, 2002.  Appellant
pleaded true to two prior felony convictions included in the indictment for enhancement
purposes and the jury assessed punishment at confinement in the Texas Department of
Criminal Justice - Correctional Institutions Division for a term of fourteen years.  He
raises four issues in his direct appeal to this Court: 

	1.  The evidence was not sufficient for the jury to identify the Appellant as
the actor in the offense.


	2.  The evidence was not sufficient for the jury to determine that a deadly
weapon was used in the offense.


	3.  The evidence was not sufficient for the jury to determine that the
complainant had been threatened by Appellant or placed in fear of imminent
bodily injury or death.


	4.  The evidence was not sufficient for the jury to determine that the
defendant was a party.


For each of the four issues, appellant argues the absence of both legally and factually
sufficient evidence to sustain the verdict.  The State acknowledges that none of the
witnesses who testified at the trial could identify appellant as being involved in the
robbery.  Therefore, what evidence there is in the record tying appellant to the robbery is
purely circumstantial.

LEGAL SUFFICIENCY REVIEW


	The Fourteenth Amendment's guarantee of due process of law prohibits a criminal
defendant from being convicted of an offense and denied his liberty except upon proof
sufficient to persuade a rational trier of fact of guilt beyond a reasonable doubt.  In re
Winship, 397 U.S. 358, 362, 90 S.Ct. 1068, 25 L.Ed.2d 368 (1970); Gollihar v. State, 46
S.W.3d 243, 245-46 (Tex. Crim. App. 2001).  In assessing the legal sufficiency of the
evidence to support a conviction, we consider all the record evidence in the light most
favorable to the jury's verdict and determine whether, based on that evidence and
reasonable inferences therefrom, a rational jury could have found the accused guilty of all
the elements of the offense beyond a reasonable doubt.  Jackson v. Virginia, 443 U.S. 307,
318-19, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979); Moff v. State, 131 S.W.3d 485, 488 (Tex.
Crim. App. 2004).

FACTUAL SUFFICIENCY REVIEW


	In Clewis v. State, 922 S.W.2d 126 (Tex. Crim. App. 1996), the Court of Criminal
Appeals vested the Texas courts of appeals with the authority to review fact questions in
criminal cases.  Since Clewis, the appellate standard for reviewing fact questions has been
refined several times.  See Johnson v. State, 23 S.W.3d 1 (Tex. Crim. App. 2000),
followed a year later by Goodman v. State, 66 S.W.3d 283 (Tex. Crim. App. 2001),
which was further clarified by Zuliani v. State, 97 S.W.3d 589 (Tex. Crim. App. 2003). 
The latest revision of the appellate standard for reviewing factual sufficiency issues is set
out in Zuniga v. State, 144 S.W.3d 477 (Tex. Crim. App. 2004).  

	In Zuniga, the Court attempted to "resolve some of the confusion created by the
standard that has developed since Clewis[.]"  Zuniga, 144 S.W.3d at 484.  While the
Zuniga Court did not intend to alter the standards of review which have evolved since
Clewis, it recognized, and apparently corrected, a significant deficiency in the various
forms the standard took from Clewis through Zuliani.  Id. at 484-85.  The Court presented,
with explanation, the current standard for reviewing factual sufficiency issues as follows:

		There is only one question to be answered in a factual-sufficiency
review: Considering all of the evidence in a neutral light, was a jury
rationally justified in finding guilt beyond a reasonable doubt?  However,
there are two ways in which the evidence may be insufficient.  First, when
considered by itself, evidence supporting the verdict may be too weak to
support the finding of guilt beyond a reasonable doubt.  Second, there may
be both evidence supporting the verdict and the evidence contrary to the
verdict.  Weighing all the evidence under this balancing scale, the contrary
evidence may be strong enough that the beyond-a-reasonable-doubt standard
could not have been met, so the guilty verdict should not stand.  This
standard acknowledges that evidence of guilt can "preponderate" in favor of
conviction but still be insufficient to prove the elements of the crime beyond
a reasonable doubt.  Stated another way, evidence supporting guilt can
"outweigh" the contrary proof and still be factually insufficient under a
beyond-a-reasonable-doubt standard.


Id. (footnote omitted).

TRIAL EVIDENCE


	Because proof of appellant's identity as one of the perpetrators of the robbery was
purely circumstantial, a somewhat detailed rendition of the evidence presented to the jury
is in order.  Essentially, the offense consisted of two masked individuals dressed in blue
jumpsuits, and carrying what appeared to be firearms, robbing the manager of the
Domino's Pizza establishment around closing time on October 10, 2002.  The State's
witnesses consisted of eight persons, four employees of Domino's Pizza and four officers
from the City of Port Arthur Police Department.  Two witnesses were called by appellant
in his defense, but appellant did not testify.  From a close examination of the record, there
appears to be no dispute among the Domino-employee witnesses as to the details of the
robbery.  In addition to an undetermined amount of cash, a number of checks were also
stolen.  The robbers fled the area on foot, running in a south to southeasterly direction. 
We now identify each of the witnesses and describe their testimony, especially any
testimony bearing on the identity of the perpetrators apart from the general description
noted above.  

	The State's first witness was David Hoffpauir, the manager of the Domino's store, 
and the victim alleged in the indictment.  Hoffpauir testified that on the evening in question
he was in the store's office when he heard noises coming from the front of the store.  As
he headed to the front to investigate, Hoffpauir encountered a person wearing a mask,
carrying "a gun," and wearing a blue jumpsuit.  The masked gunman directed Hoffpauir
to return to the office and Hoffpauir complied as he feared for his safety.  As there was
no money in the office, the masked gunman directed Hoffpauir to walk to the front of the
store.  As Hoffpauir neared the front of the store, he encountered a second individual who
was also armed, wearing a mask and dressed in a jumpsuit.  Hoffpauir proceeded to the
front counter where the money-drawer was located and opened the drawer for the robbers. 
At that point, Hoffpauir was directed by one of the gunmen to get on the floor.  Within a
matter of seconds, the gunmen took money from the drawer and left the store.  Hoffpauir
did not see in what direction the men ran.  After the gunmen were gone, Hoffpauir locked
the doors to the store and telephoned "911."  While Hoffpauir was on the telephone, an
off-duty police officer, later identified as Kevin Schexnider, arrived at the scene. 
Hoffpauir was unable to identify appellant as one of the robbers.  

	The State's second witness, seventeen-year-old Timesia Drake, was also employed
by Domino's Pizza on the night of the robbery, and was also present when the two gunmen
entered the store.  She recalled that the two men entered the store and immediately
instructed her and the other employees present to empty their pockets and to "get on the
floor."  As she lay on the floor, Timesia observed the gunmen bring David Hoffpauir into
the front of the store where he opened the cash-drawer.  The gunmen proceeded to take
the money and run out the back door of the store.  Timesia estimated that the entire
robbery took about "two or three minutes."  Timesia also could not discern any of the
gunmen's facial features through the masks, so she could not identify appellant as one of
the robbers. 

	The next witness was Officer Kevin Schexnider of the Port Arthur Police
Department.  At approximately 11:25 p.m. on the night in question, Officer Schexnider
was off-duty and in his personal vehicle talking on his cellular phone with another Port
Arthur Police officer who was on-duty.  As Officer Schexnider waited for the traffic signal
at the intersection of 25th Street and Memorial Boulevard to change, he heard over the
police radio of the robbery at the Domino's store.  As the store was very close to his
location he proceeded there, parked his car, and approached the front door.  Someone
inside the Domino's store recognized Schexnider and motioned for him to enter the store. 
However, the front door was locked so Schexnider ran around the building, and, as he
rounded the corner, a truck driver alerted Schexnider that someone had run past heading
in a southerly direction.  At that point, Schexnider stated: "I looked and I seen (sic) a male
black run and make the corner past some bushes around the house."  When the State asked
if he could describe how the man running was dressed, Schexnider replied, "It was too
quick.  I didn't get a good description of him."  Schexnider then testified that he gave
pursuit, running to the spot where he last saw the man run.  At this point, we reproduce
verbatim the testimony from Officer Schexnider as it describes the subsequent events
surrounding the appearance, discovery, and arrest of appellant from Schexnider's
perspective: 

	Q.[State] Let me back up.  You say you gave pursuit.  I guess you ran to the
spot where you saw him run?


	A.[Schexnider] Yes.


	Q.  Couldn't find him there.


	A.  No.  Once I ran to where I lost sight of him at, I looked around, and
couldn't find him.  So, I just continued in a, I think, southeasterly direction
running that way.  And I got on my cell phone and called dispatch and let
them know which way the suspect was heading, and by that time other
officers were in the area and started spotting him running to different
locations.  


	Q.  What did you do after that?


	A.  While I was speaking with dispatch on my cell phone, one of my
supervisors come by, picked me up and I got in the car with him and we
made a few blocks trying to locate the suspects.  I think some other officers
got on the radio and said they seen (sic) him on 24th Street.  We went a
block south and set up a perimeter there and got out on foot.


	Q.  What happened then?


	A.  I hooked up with another officer.  Being that I didn't have my walkie,
I was trying to stay with a on duty officer; and we went and walked several
alleyways checking under the houses and alleyways in an attempt to locate
the suspects.  


	Q.  Did you find them?


	A.  No.


	Q.  Were they eventually found?


	A.  Yes.


	Q.  Where were they located at?


	A.  In a backyard in the 2400 block of Fifth Avenue, I believe.


	Q.  Now, did you go to that spot where they found them?


	A.  Yes, I did.  I was just right across the alleyway.  I had to jump a fence
to get to where they were at.


	Q.  How long was it - - by the time you got there - - back up.  From the time
they found them until the time you got there, how long roughly was that?


	A.  Approximately 30 seconds.


	Q.  So, you get there.  Did they have two people in custody?


	A.  Yes.


	Q.  From the spot where they had the two people in custody back to where
Domino's is at, how far is that?


	A.  It's about six blocks, five or six.


	Q.  You said earlier you set up a perimeter.  Did other officers set up a
perimeter?


	A.  Yes, sir, once the other officers got in the area, receiving information
from other officers, we set up a perimeter between 23rd and 24th Street on
Fifth - - Fourth and Fifth Avenue.


	Q.  When you say set up a perimeter, you-all try to - -


	A.  Box them in, seal it off.


	Q.  The people that they had in custody, was one of those one of the ones
you saw running; or could you tell?


	A.  I really couldn't make a positive identification.  It was a split second. 
I couldn't - - I don't even think I could give out a good clothing description. 
It was that fast.


	Q.  After they had them in custody, you went over there to where they were
at.


	A.  Yes, sir.  



	Sergeant Rodney Harrison of the Port Arthur Police Department was the State's
next witness.  Harrison was on-duty when he received the report of the Domino's robbery,
at approximately 11:25 p.m.  Harrison went to the neighborhood situated in the direction
the suspects were last seen running.  The directional information was provided to Harrison
by Officer Schexnider.  When he arrived in the neighborhood, Harrison set up a perimeter,
along with other officers.  Once the perimeter was established, Harrison stated he spotted
two men run in an alleyway across his perimeter set-up.  Harrison immediately began foot
pursuit, but as he arrived at the alleyway, the men had disappeared from sight.  As
Harrison was aware that another officer was positioned at the other end of the alleyway,
Harrison suspected that the men had to be somewhere close.  Harrison then advised the
officers making up the perimeter to "close in" because Harrison knew the men had to be
within that city block, and a yard-to-yard search ensued.  The two men Harrison had
spotted earlier were found shortly thereafter.  Harrison's direct examination testimony
continued as follows: 

	Q.[State] Did you look at the two men they found?


	A.[Harrison] Yes.


	Q.  Were they the same two men that were running from you when you first
saw two men run?


	A.  Yes, they were.


	Q.  Still dressed the same way?


	A.  Still dressed the same way.


	Q.  Do you remember what they were dressed in?


	A.  One gentleman was wearing all white clothing.  The other gentleman had
on black pants and a white shirt.  


	Q.  When they crossed your perimeter, is that how they were dressed?


	A.  That's correct.


	Q.  I gather some of the other officers were involved in making this
perimeter; is that right?


	A.  Yes, sir.


	Q.  One of the individuals that was stopped that night and that you saw
crossing your path, do you see him in the courtroom today?


	A.  Yes, sir, he's seated at the table next to [Trial Counsel].


		[State]: Your Honor, I'd ask the record to reflect he's identified the
defendant.


		THE COURT: The record will so reflect.


	On cross-examination, Sergeant Harrison drew a diagram for the jury of the
neighborhood area indicating where he was located and where appellant was seen by
Harrison crossing into the perimeter.  Trial counsel concluded his cross-examination of
Harrison with the following query: 

	Q.  Now, I remember when I was prosecuting we heard this all the time.  I
assume it's still true.  It's not uncommon for black guys to run from the Port
Arthur Police for a variety of reasons.  


	A.  All kind of reasons, yes.  


	Later, on re-direct examination, the State inquired of Harrison if efforts were made
to locate any of the clothing, masks, firearms, or any other items used in the robbery, to
which Harrison responded that there were efforts made, and in his experience, "there are
times that we do not locate evidence.  You know, when people are running through
neighborhoods, things are discarded; and we never find them."  Harrison also agreed that,
in his experience as a robbery/homicide detective, it is fairly common for people to try and
lose some of the evidence that they use to commit the robbery.  Continuing with the
hypothetical questions on re-direct, the following is reflected in the record: 

	Q.[State] And even over short distances, it is possible that they could get rid
of or hide from the police things used to help commit a robbery and the
police just cannot find it?


	A.[Harrison] That's correct.


	Q. In your experience as a robbery/homicide detective, have you
experienced in the past where people would commit a robbery, try to lose
things that they used to commit the robbery like guns or clothing but hang
on to the loot?


	A.  That's correct, it's common practice.  They will usually - - in my past
experience, I've seen them discard their disguises, the handguns used in the
offense or whatever their weapon was; but they would always hang on to the
proceeds of the crime.


	Trial counsel's re-cross-examination of Sergeant Harrison concluded with the
following:

	Q.[Trial Counsel] And it could just as well be that you didn't find this stuff,
the guns and the masks, because the people that did the robbery actually got
through your perimeter maybe even before you set it up or something.  They
just got away.


	A.[Harrison] It's possible.


	The State's next witness was also one of the officers who became part of the
perimeter that was established following the robbery.  Officer Herbert Otis shined his
spotlight through the 22nd Street alleyway and saw other officers chasing some individuals.
Officer Otis observed one individual wearing white pants, but did not see the other
individual.  He saw the man in the white pants run between a house heading in a westerly
direction.  At that point, Otis lost sight of the person, so he got out of his patrol car and
began to run in the direction where the man had run, towards Fourth Avenue.  Otis began
to visually check around the residences on Fourth Avenue, and as he looked between two
houses, Otis observed two males, one wearing white pants and one wearing black pants,
"kneeling in the sticker bush on the ground."  Otis held the men at gunpoint until the other
officers arrived to take the men into custody.  Otis identified appellant as one of the men
kneeling on the ground, the other man Otis named as "John Rice."  After the appellant and
the other man were removed from the "sticker bush" area, Otis observed several $20 bills
on the ground "just right underneath where they were.  It appeared they may have been,
like, almost sitting on them."  As Otis searched the "sticker bush" area, he discovered a
dark-colored wallet "deep inside the sticker bush."  This wallet was later identified by
another State's witness, Dwayne Rachal, an employee of Domino's Pizza who was also
robbed by the masked gunmen on the night in question, as belonging to him.  Pertinent
testimony by Rachal will be set out below.  

	Officer Heather Primm was the following witness for the State.  Officer Primm was
involved in retrieving the wallet, cash, and some checks located in the "sticker bush" area.
Copies of the checks were tendered into evidence and identified as being made payable to
"Domino's."  Primm agreed that the checks were found "inside the sticker bush."  On
cross-examination, Primm specified that "located inside" the sticker bush itself was
"money, checks and a wallet." 

	The State's final two witnesses, Dwayne Rachal and Herman Washington, were
both employees of Domino's Pizza and were inside the premises on the night of the
robbery.  Their testimony essentially tracked that of the other Domino's employees.  As
with the other store employees, Rachal did not see the faces of the gunmen and could not
give positive identification, but did notice that the gunman who took his wallet was
wearing dark-colored gloves.  Washington added that he noticed one of the gunmen was
wearing black boots.  During the robbery, one of the gunmen took the money and checks
that Washington was in the process of tallying, and Washington was able to identify State's
Exhibit 8 as a copy of one of the checks he had initialed that night.  While the State did
not ask Washington to try to identify appellant as one of the gunmen, on cross-examination, Washington agreed that he could not say appellant was one of the robbers on
the night in question.  At this point in the trial, the State rested its case-in-chief. 

	Appellant called two of the State's witnesses back to testify for the defense.  Officer
Herbert Otis stated the money appearing in the photograph, State's Number 6, was not the
money he observed at the scene where appellant was located.  Otis described the money
he saw as appearing "kind of like balled up and just dropped[,]" as opposed to the money
appearing in State's Number 6 which, to Otis, appeared "like it's folded in half." (1)  Also,
Otis admitted that, although two men were found kneeling in front of the "sticker bush,"
Otis never observed a second man running, only the man in the white pants.  Otis further
confirmed that when he approached appellant and John Rice, Otis never saw any
jumpsuits, masks, gloves, or guns. 

	Appellant's final witness, Officer Heather Primm, testified she was involved in the
subsequent search for the various items of apparel and the weapons believed to have been
discarded by appellant and John Rice.  With the help of a police dog and the dog's handler,
Primm attempted to locate any of the presumably discarded apparel or firearms belonging
to the robbers.  Nothing was recovered.  At this point, the defense rested its case, and the
State had no rebuttal witnesses. 

	Initially, we must overrule issues two and three as David Hoffpauir testified that he
was concerned for his safety because the masked man he first encountered threatened
Hoffpauir with what appeared to be a "real gun."  Appellant appears to contend that
because Hoffpauir later uttered the words, "I'm not afraid of the guys; . . ," proof of the
element that the victim was placed in fear of imminent bodily injury or death was
insufficient.  The record reflects the full context of the questioning as follows:

	Q.[State] I guess this is a silly question: You're afraid of these guys, right?


	A.[Hoffpauir] I'm not afraid of the guys; but, you know, they do have guns
and stuff.  So . . .


	Q.  Yeah, I guess that's what I'm asking.  You're afraid of their guns.  


	A.  Yeah.  



	Appellant also contends the evidence is insufficient to show a deadly weapon or
firearm was used during the commission of the offense because the testimony described
what the men carried as "guns," and the witnesses were "untrained individuals."  On
cross-examination, however, Herman Washington testified that he had seen a gun before
as his mother had owned a small, .22 caliber "handgun," "a revolver."  Washington also
testified that the handgun pointed at him by one of the gunmen during the robbery was an
automatic, "either a 45 or a 9-millimeter."  There is no record evidence contradicting this
testimony.  We find both legally and factually sufficient evidence exists that the victim was
placed in fear of death or serious bodily injury by the gunmen, and that both gunmen were
in possession of a "firearm," which is, by definition, a deadly weapon.  Tex. Pen. Code
Ann. § 1.07(17)(A) (Vernon Supp. 2005).  See Ex parte Carrasco, 750 S.W.2d 222, 225
(Tex. Crim. App. 1988).  Issues two and three are overruled.  

	Issue four complains of the lack of sufficient evidence to find appellant guilty as a
party to the aggravated robbery.  This issue is essentially subsumed in our resolution of
issue one because the testimony from the complainant and the store-employees indicated
that both gunmen were clearly acting together in committing the robbery.  Here, the State
presented both legally and factually sufficient evidence to show conduct by one of the
gunmen constituted the offense charged, i.e., the aggravated robbery of Hoffpauir, and
that the other gunman acted with the intent to promote or assist the robbery of Hoffpauir. 
The jury was instructed that it was authorized to convict appellant of the aggravated
robbery "either acting alone or as a party, as that term has been defined[.]"  After being
so charged, the jury returned a general verdict finding appellant guilty of aggravated
robbery.  The principle is well-established that when the jury returns a general verdict and
the evidence is sufficient to support a guilty finding under any of the allegations submitted,
the verdict will be upheld.  See Swearingen v. State, 101 S.W.3d 89, 95 (Tex. Crim. App.
2003); Rabbani v. State, 847 S.W.2d 555, 558 (Tex. Crim. App. 1992).  Additionally,
assuming appellant was not the primary actor in the robbery, the primary actor does not
necessarily need to be identified to convict a defendant as a party.  See Perry v. State, 977
S.W.2d 847, 849-50 (Tex. App.--Houston [14th Dist.] 1998, no pet.).  Therefore, the lone
remaining question for review is whether the record contains legally and factually
sufficient evidence identifying appellant as one of the gunmen so as to sustain the
conviction.

LEGAL SUFFICIENCY ANALYSIS


	When reviewing a case comprised wholly of circumstantial evidence, the standard
of review is the same as it is for reviewing cases in which direct evidence exists.  See
Kutzner v. State, 994 S.W.2d 180, 184 (Tex. Crim. App. 1999).  Circumstantial evidence,
by itself, may be enough to support the jury's verdict.  Id.  "Circumstantial evidence" is
direct proof of secondary facts which, by logical inference, demonstrates the ultimate fact
to be proven.  See Cowan v. State, 840 S.W.2d 435, 438 n.10 (Tex. Crim. App. 1992)
(quoting Taylor v. State, 684 S.W.2d 682, 684 (Tex. Crim. App. 1984)).  In the law of
evidence, an inference is a fact or proposition drawn from an admitted or otherwise proven
fact.  See Marshall Field Stores, Inc. v. Gardiner, 859 S.W.2d 391, 400 (Tex. App.--Houston [1st Dist.] 1993, writ dism'd w.o.j.) (op. on reh'g).  It is a logical consequence
flowing from a proven fact.  Id.  If circumstantial evidence provides no more than a
suspicion, the jury is not entitled to reach a speculative conclusion.  Id. at 401.  However,
the prosecution need not exclude every other reasonable hypothesis except the guilt of the
accused.  Sonnier v. State, 913 S.W.2d 511, 516 (Tex. Crim. App. 1995). (2)  

	Here the State acknowledges the fact that the basis for identifying appellant as one
of the robbers is appellant's close proximity to property identified as having been taken
during the robbery.  The State suggests that sufficiency of the evidence in this case will
turn on the long-standing common law rule involving "unexplained possession of recently
stolen property."  See Hynson v. State, 656 S.W.2d 460, 461 (Tex. Crim. App. 1983).

	We find the discussion in Rogers v. State, 929 S.W.2d 103, 108 n.2 (Tex. App.--Beaumont 1996, no pet.) helpful even though Rogers was a burglary case.  The question
in Rogers was whether or not there was sufficient evidence to prove the defendant was the
perpetrator of the offense charged.  Id. at 104.  In Rogers, we observed:

		Case law has established when there is independent evidence of a
burglary, the unexplained personal possession of recently stolen property
will support an inference of guilt of the offense in which the property was
stolen.  Hardesty v. State, 656 S.W.2d 73, 76 (Tex. Crim. App. 1983). 
Hardesty overruled a long line of prior holdings by the Court of Criminal
Appeals which stood for the proposition that evidence of a defendant's recent
and unexplained possession of stolen property was sufficient, (in itself), to
sustain a conviction.  Id. at 77.  The Hardesty Court instead held that said
unexplained possession was merely a circumstance of guilt and, as such, was
not conclusive.  Id.  As the Court observed: "[o]nce the permissible
inference arises, sufficiency of the evidence must still be examined according
to applicable evidentiary standards of appellate review since the inference is
not conclusive."  Id.


Id. at 108 (emphasis added; parenthetical emphasis in original) (footnote omitted). 
Hardesty seems clear on the issue: "Proper use of legal terminology requires that the
deduction drawn from a defendant's recent and unexplained possession of stolen property
be termed a permissible inference.  Although many cases use the term 'presumption,' we
now clarify the law and disavow any previous language to the contrary in discussing theft
cases under V.T.C.A., Penal Code, § 31.03(b)(1)."  Hardesty, 656 S.W.2d at 77.   

	As the State points out in its brief, in order to rely on Hardesty's "permissible
inference," the actor must have been in "personal possession" of the stolen property at
some point.  We note that under certain circumstances, actions of a defendant may show
a conscious assertion of the right to the stolen property which equates to proof of exclusive
personal possession of said property.  See Todd v. State, 601 S.W.2d 718, 720 (Tex.
Crim. App. 1980) (defendant towed the stolen welder behind his pickup truck); Kuczaj v.
State, 848 S.W.2d 284, 289 (Tex. App.--Fort Worth 1993, no pet.) (defendant pawned the
stolen electronic equipment).  Absent direct evidence that a defendant has made a verbal
or written assertion of exclusive ownership or right to stolen property, typical trial
evidence is simply descriptive of circumstantial proof of a defendant's exclusive and
personal possession of the stolen property in question.

	Under the proper standard for reviewing a record for legally sufficient evidence,
we must consider the record evidence in the light most favorable to the verdict, including
all reasonable inferences therefrom.  See Jackson, 443 U.S. at 318-19; 99 S.Ct. 2781, 61
L.Ed.2d at 573; Sanders v. State, 119 S.W.3d 818, 820 (Tex. Crim. App. 2003). 
Although there was no direct evidence establishing the length of time that lapsed between
the robbery and appellant's apprehension, the jury could reasonably infer that it was recent
relative to the robbery.  The testimony of Officer Herbert Otis indicated that he found
appellant and Rice "kneeling in the sticker bush on the ground[,]" and Otis observed
several $20 bills on the ground "just right underneath where they were.  It appeared they
may have been, like, almost sitting on them."  In the light most favorable to the verdict,
this appears to satisfy Hardesty and we are permitted to infer appellant's "possession" of
the stolen items was personal and exclusive and, therefore, a circumstance of his guilt of
the robbery in question.  Hardesty, 656 S.W.2d at 77.  

	Recall that Otis also stated that in searching "deep inside the sticker bush," he
located a wallet which was later identified by Domino's employee Dwayne Rachal as
having been taken from him by one of the gunmen during the robbery.  In the light most
favorable to the verdict, a rational jury could reasonably infer that this testimony indicated
an attempt to conceal incriminating evidence, an indicator of knowledge of wrongful
conduct which is also a circumstance of guilt.  See Guevara v. State, 152 S.W.3d 45, 2004
WL 2347793, at *3 (Tex. Crim. App. 2004).  

	In summarizing the "light most favorable" evidence, the basic record facts indicate
that two men were involved in the robbery and ran from the robbery scene, that an
unspecified but presumably short-time later appellant and Rice were observed running from
police, that appellant and Rice were found kneeling in some bushes presumably attempting
to conceal themselves from the police, and that cash and other items taken during the
robbery were located within close physical proximity to appellant.  From all of this we can
say that a rational jury could have inferred the ultimate fact that appellant was one of the
gunmen who committed the robbery of David Hoffpauir.  See Clewis, 922 S.W.2d at 132
n.10.  We overrule issue one as to its legal sufficiency challenge.

FACTUAL SUFFICIENCY REVIEW


	The Court of Criminal Appeals has held that in a factual sufficiency review the
courts of appeals are required to consider and discuss the most important evidence that the
appellant claims undermines the jury's verdict.  Sims v. State, 99 S.W.3d 600, 603 (Tex.
Crim. App. 2003).  In keeping with the "common sense approach" suggested in Tex. R.
App. P. 47.1, courts of appeals must "show their work" unless they have written a
memorandum opinion.  Id. at 603-04.  As for appellant's position in this appeal, it is not
so much a question of what "important evidence" exists in the record that undermines the
jury's verdict, but the lack of such evidence.  Under a factual sufficiency analysis all of
the record evidence is considered in a neutral light, both for and against the finding.  As
we noted above, evidence weighing in appellant's favor included the fact that neither he
nor Rice were dressed as were the gunmen, and that no trace of any clothing, masks,
gloves, or weapons worn and carried by the gunmen was ever recovered despite the fact
that two police officers and a scent-dog conducted a search of the area.  Furthermore,
appellant argues that "[t]here is no evidence in the record that Defendant had care[,]
custody or control of the stolen items - or even that he could see them.  For officers to
need spotlights (RR3 P47 L19-20) to see items as big as running people, it would be
logical to assume that people in the dark would need more light to see small items inside
a sticker bush."  Appellant's argument here is not persuasive.  Had the stolen property
been observed lying in the darkened street or on a highly-traversed, but darkened, public
sidewalk, and no other evidence tied the stolen items to appellant other than close
proximity, our conclusion might be different.  See Goodman, 66 S.W.3d at 285 (cocaine
found on sidewalk two feet from seated defendant with no one else in sight supports
inference that cocaine belongs to defendant but facts too weak to support factual conclusion
that defendant actually used or possessed cocaine).  However, the facts indicate that
appellant and Rice were attempting to hide from the police in the darkened area just inside
the sticker bush, with some of the stolen property found directly underneath them, and
other stolen items found deep inside the branches of the bush and located closely behind
where the men were seated.  There is no evidence that the particular location appellant and
Rice were found was a "high crime area," or was located on a path or route typically
traversed by residents in the neighborhood.  Therefore, an inference that it was appellant
who placed the stolen items on the ground and in the bushes is a logical consequence of
the proven fact of appellant's presence in such an isolated and secretive place.  A
"permissible inference" of guilt would be rational under these facts and circumstances.  
Hardesty, 656 S.W.2d at 77.  Appellant was found to have been virtually sitting on the
property taken in the robbery while attempting to hide from the police a relatively short
time and distance after the robbery was committed.  

	The Court in Zuniga framed the question in terms of what the jury was "rationally
justified" in finding beyond a reasonable doubt.  Id.  In the instant case, under all of the
facts presented to it, the jury was rationally justified in finding appellant guilty of the
aggravated robbery beyond a reasonable doubt.  Issue one is overruled as to its factual
sufficiency challenge.  The judgment of the trial court is affirmed.

	AFFIRMED.


							_______________________________

								STEVE MCKEITHEN

								       Chief Justice	




Submitted on November 10, 2004

Opinion Delivered March 2, 2005

Publish


Before McKeithen, C.J., Burgess and Gaultney, JJ.CONCURRING AND DISSENTING OPINION


	I concur with the majority's resolution of issues two, three and the legally sufficient
portions of issues one and four.  I respectfully dissent to the factual sufficiency analysis
and conclusion.

	As noted by the majority, the State acknowledges the sole basis for identifying Louis
as one of the robbers is his close proximity to property identified as having been taken
during the robbery.  The record confirms this.  There is no testimony that links the man
Officer Schexnider saw running from the scene of the robbery to the two men spotted by
Officer Harrison, one of whom was later identified as Louis, running in the alleyway
across his perimeter position.  

	I agree with the majority the sufficiency of the evidence in this case will turn on the
long-standing common-law rule involving "unexplained personal possession of recently
stolen property." (3)  See Hynson v. State, 656 S. W .2d 460, 460-61 (Tex. Crim. App.
1983).  As the majority notes, from our quote in Rogers v. State, 929 S.W.2d 103, 108
(Tex. App.- -Beaumont 1996, no pet.), in order to rely on Hardesty's "permissible
inference," the actor must have been in "personal possession" of the stolen property at
some point.  An early case, Frazier v. State, 88 Tex. Crim. 411, 227 S.W. 324 (1921),
involved the identity of the thief of some hogs.  The evidence in Frazier indicated the
stolen hogs were apparently found dead lying in the front yard of the residence of the
defendant's mother.  Id. at 325.  The witness who spotted the dead hogs in the front yard
also observed the defendant and his brother leave the house, and also observed another
man and woman: 

		Without discussing the question of the sufficiency of the identification
of the alleged stolen property, it seems from the record that, at the house in
whose yard the witness King said he found the dead hogs, there were four
people, none of whom claimed to own the hogs or have same in their
possession. Possession appears to be the only circumstance of guilt, and in
order to justify such inference the possession must not only be shown to be
recent and unexplained, but also personal and exclusive in the party or
parties sought to be charged thereby. The discovery of the alleged stolen
property in the presence of a group of people, one of whom is the accused,
unaccompanied by evidence of an acting together and thus of guilt as a
principal or accomplice on the one hand, or of evidence which satisfactorily
fixes possession in the person charged, would not support a conviction for
theft as to anyone of the said persons. That guilt as to one cannot be
predicated on the mere presence of the group, and a general impersonal
possession arising therefrom, seems too well settled to need discussion.
Section 2463, Branch's Annotated Penal Code, and authorities there cited.
We find nothing in this record showing any claim of ownership or possession
of said hogs by this appellant, either in the testimony of the state or that of
the defense.


Id.

	The "unexplained personal possession of recently stolen property" inference in theft
cases, as mentioned in Frazier, was extended to robbery cases in Batiste v. State, 464
S.W.2d 149, 151 (Tex. Crim. App. 1971).  In Batiste, the complainant testified he was
walking down a street at about 12:50 a.m. when two Black men robbed him at knifepoint
of his eyeglasses, transistor radio, and wallet.  Id at 150.  The complainant heard one of
the men say, "Come on, the cops," and further observed the men run away.  Id. 
However, because of poor eyesight, the complainant was unable to identify either of the
robbers.  Id. at 150-51. Approximately five minutes later, a police officer observed two
men behind a closed business.  Id. at 150.  When the officer illuminated the area, the men
fled.  The two men were apprehended a short time later and a knife was found on one of
the men, later identified as the defendant.  Id.  The defendant was arrested and, while
seated in the patrol vehicle, was observed by another officer trying to gain access to his
own pant's pocket.  When the officer checked the pocket, a pair of eyeglasses, later
identified by the complainant as the glasses taken by the robbers, was found.  Id.  The
defendant in Batiste was convicted and raised insufficient evidence on appeal.  Id. at 150. 
The Court analyzed the issue in the following manner:

		In Edmonds v. State, Tex. Cr. App., 407 S.W.2d 783, this Court
reiterated the rule that 'proof of appellant's unexplained possession of the
property recently stolen from the house, together with proof that the house
had been burglarized by someone, was sufficient to support the conviction.' 


		Unexplained possession of recently stolen goods has been held to
support a conviction for theft in numerous cases. English v. State, Tex. Cr.
App., 441 S.W.2d 195; Stubblefield v. State, Tex. Cr. App., 372 S. W.2d
539.


		'This court has frequently said that robbery is an aggravated
case of theft because in each instance the fraudulent taking of
property with intent to appropriate it is the gravamen of the
offense. * * *  The distinction between the two offenses lies in
the antecedent assault or violence or putting in fear of life or
bodily injury necessary to constitute the offense of robbery.'
Alaniz v. State, 147 Tex. Cr. R. 1, 177 S.W.2d 965.


		'As in cases of burglary and theft, it would seem that a
conviction of the defendant for robbery could well rest upon
the fact that he was in possession of the loot which had
recently been taken from the injured party.'  5 Branch's P.C.
2d, Sec. 2596, pp. 29--30.


		Under the circumstances of this case, where a robbery has occurred
at a location near the arrest and very close to the time of the arrest, and
where the victim is unable to identify the robber, appellant's unexplained
possession of the victim's eyeglasses at the time of his arrest is sufficient to
sustain his conviction for the robbery by assault.


Batiste, 464 S.W.2d at 151.  Ignoring Batiste's use of a presumption of guilt rather than
the Hardesty "permissible inference" of guilt, the facts in Batiste underscore the problem
with the facts in this case.  Simply put, "personal and exclusive possession" is a given
under the facts of Batiste because the fruits of the robbery - complainant's eyeglasses -
were found in the defendant's pants pocket. 

	In this case, as Louis points out, "[t]here is no evidence in the record that Defendant
had care[,] custody or control of the stolen items -or even that he could see them.  For
officers to need spotlights . . . to see items as big as running people, it would be logical
to assume that people in the dark would need more light to see small items inside a sticker
bush."  In Batiste, the Court found the evidence to be sufficient to sustain the conviction
absent a positive identification by the complainant because the defendant's personal
possession of the complainant's property taken in the robbery was also recent, and
unexplained.  Id. at 151.

	In another robbery case, Girard v. State, 631 S.W.2d 162 (Tex. Crim. App. 1982),
three robbers were involved, only one of whom was masked and wore gloves.  Id. at 163. 
The State's theory was the defendant was the masked man even though the complainant
could not identify the masked man, but could say that appellant was of a similar height and
build.  Id.  The evidence indicated that approximately forty to forty-five minutes after the
robbery the defendant was seen in possession of jewelry taken in the robbery.  Id.  Some
of the jewelry was given to a third party, Bogard, by the defendant.  Id.  It was later
proven that Bogard was also a friend of one of the un-masked robbers (Barnes).  Id. at
164.  In finding the evidence legally sufficient to support the conviction, the Court in
Girard stated:

	In this case, the fact that the appellant was shown by Bogard's testimony to
have been in possession of the loot so soon after the robbery was an
inculpatory circumstance.  Generally, the shorter the interval between the
theft and the possession, the stronger is the circumstance (although the cases
will vary according to such factors as the ease with which such property can
be transferred).  See Hardage v. State, 552 S.W.2d 837,840
(Tex.Cr.App.1977). We hold that this very recent unexplained possession,
together with the fact of the similarity of appearance and the fact that the
appellant was a companion of at least on of the unmasked robbers, was
sufficient evidence of guilt.  Cf. Batiste v. State, 464 S.W.2d 149,
(Tex.Cr.App.1971) (proof was sufficient when a man, whom the victim
could not identify other than by race, was found nearby in possession of
stolen property shortly after robbery).


Girard, 631 S.W.2d at 164.  Again, in Girard there was no question the defendant was in
exclusive and personal possession of property taken from the robbery.  In addition to this
fact,  the Girard jury had evidence the masked robber was similar in height and build to
the defendant, and  the defendant was tied to the un-masked robber Barnes by Barnes'
friendship with the defendant's friend Bogard.

	 In this case, there is no attempt to match Louis's physical appearance with either
of the men who robbed Hoffpauir or any of the other pizza employees.  Nor was there an
attempt to match the physical appearance of John Rice, the man arrested with Louis, with
that of either robber.

	The majority notes that under certain circumstances actions of a defendant may
show a conscious assertion of the right to the stolen property which equates to proof of
exclusive personal possession of said property, citing Todd v. State, 601 S.W.2d 718, 720
(Tex. Crim. App. 1980) (defendant towed the stolen welder behind his pickup truck) and
Kuczaj v. State, 848 S.W.2d 284, 288-89 (Tex. App.--Fort Worth 1993, no pet.)
(defendant pawned the stolen electronic equipment).  However, other than evidence that
a defendant has made a verbal or written assertion of exclusive ownership or right to stolen
property, the evidentiary circumstances in Batiste, Girard, Todd, and Kuczaj are
descriptive of circumstantial (4) proof of the defendants' exclusive and personal possession
of the stolen property in question.  In Batiste, the victim's property was in the defendant's
own pant's pocket; in Girard, the defendant made his friend Bogard a "Christmas present"
of the stolen jewelry; in Todd, the defendant was towing a stolen welder attached to his
pickup truck; and in Kuczaj, the defendant was identified by his driver's license and name
on the pawn ticket which included the serial numbers of the items stolen in a burglary of
the victims' home, with the date of the burglary being the same as the date the stolen items
were pawned. 

	In this case, the evidence indicates Louis and Rice were found kneeling on the
ground in the dark under some bushes in an apparent attempt to hide from police from
whom they had been running.  Found nearby were items taken in the robbery.  Other than
very close physical proximity to the stolen items, no other evidence from the robbery was
ever located and nothing linking either Louis or Rice to the robbery was presented to the
jury.  There is no evidence that either Louis or Rice made any remarks with regard to the
stolen items nor does the record indicate the police asked for any explanation. (5)  Although
probative of wrongful conduct as well as circumstances of guilt, there are no inconsistent
statements by Louis or Rice, nor did either man give any implausible explanation to the
police when apprehended amidst the stolen property.  See United States v. Cano-Guel, 167
F.3d 900, 905 (5th Cir. 1999); Graham v. State, 566 S.W.2d 941, 951 (Tex. Crim. App.
1978).

	Recall that under a factual sufficiency analysis all of the record evidence is
considered in a neutral light, both for and against the finding.  Without the "light most
favorable" viewpoint, the record in this case is missing many items of circumstantial
evidence typically used to prove identity.  I reiterate that the record does not have any
physical comparison between the gunmen and either appellant or Rice.  Moreover, there
is no direct evidence as to the race of either Louis or Rice.  One may surmise from a
reading of the testimony of Officer Schexnider that having seen a "male black" race past
him, and later stating that "they" were eventually found, Louis and Rice were both Black. 
However, this is not as solidly established as is typical in cases where identity of the
perpetrator is hotly contested.  Furthermore, the record is silent as to any relationship
between Louis and Rice other than the fact that they just appeared together running at some
point and were apprehended kneeling in the dark under the "sticker bush."  The record is
also silent as to whether Louis or Rice were given the opportunity to explain the
circumstances surrounding their apprehension including their awareness, if at all, of the
presence of the stolen property near them.  This fact severely water's down the
circumstance of guilt a fact finder is permitted to draw from exclusive and personal
possession of recently stolen property.  

	Recently, the Court of Criminal Appeals held, in a capital murder case,  the
evidence  was factually insufficient to support the jury's verdict that the defendant was
guilty as a party to the offense.  See Vodochodsky v. State, No. 74129, 2004 WL 840121
(Tex. Crim. App. April 21, 2004) (publication pending).  There is value in the
Vodochodsky opinion, not for its party-liability discussion, but for the contrasting analyses
the Court utilizes in discussing the legal and factual insufficiency issues.  The Court
applies the record-evidence to its factual sufficiency review standard as follows:

		In this case, the overwhelming weight of the evidence mitigates
against the conclusion that Vodochodsky solicited, encouraged, directed,
aided or attempted to aid Engleton in committing the offense.  All of the
evidence that could legally support a rational jury's conclusion is
nevertheless so weak that our confidence in the jury's verdict is undermined. 
When Engleton expressed a desire to "do it right now" and Vodochodsky
told him they did not yet have a plan, neither man specifically mentioned
killing a peace officer.  When Vodochodsky told Essary that he bailed
Engleton out of jail "to do this," he did not specifically state that he bailed
him out as part of a plan to kill police officers.  Vodochodsky removed
belongings from the house, but there is no proof that he did so as part of a
murderous plot.  And Vodochodsky's comment to Essary that Engleton had
"gone over the edge" when he took the deputy's gun could just as reasonably
have been a speculative comment, not one indicating that Vodochodsky had
witnessed Monse's murder.

		Indeed, none of that evidence necessarily suggests that Vodochodsky
acted with intent to promote or assist Engleton.  None of his statements
directly refer to killing police officers.  His statements are devoid of
information on the details of the alleged murder plot, and there is no other
information in the record suggesting that Vodochodsky was planning the
event with Engleton.

		Furthermore, other evidence suggests that Vodochodsky was not
working with Engleton.  His whispered warning to Sara could indicate that
while he may have known of Engleton' s plan, he was not a party to it. He
did not participate in the purchase of ammunition.  There is no evidence that
Vodochodsky actually did any affirmative act to assist Engleton with the
plan. Instead, Vodochodsky had the bad luck of being the friend and
roommate of a man determined to kill police officers and himself.

		We conclude that proof of Vodochodsky' s guilt was so weak as to
undermine confidence in the jury's determination.  The evidence was
factually insufficient to convict.


Id. at **6.

	For brevity's sake, I have dispensed with a detailed rendition of the facts in
Vodochodsky.  However, as can be gleaned from the above-quoted portion, Engleton was
the primary actor/murderer and the defendant's role in the murders of two sheriff's
deputies and a state trooper by Engleton was the key issue.  At any rate, contrast the
Court's factual sufficiency analysis set-out above with the legal sufficiency analysis as it
appears in the opinion:

		The night before the offense, Engleton expressed a desire to "do it
right now" and Vodochodsky told him they did not yet have a plan.  A
rational jury could conclude from this evidence that Engleton had a plan to
kill a peace officer, that Vodochodsky was aware of Engleton's plan, and the
Vodochodsky wanted to wait until the plan was foolproof.  On the day of the
crime, Vodochodsky bailed Engleton out of jail, later telling Essary that he
bailed him out "to do this."  A rational jury could conclude from this
evidence that  Vodochodsky bailed Engleton out of jail specifically to carry
out the plan to kill the peace officers.  Knowing that the police were coming
and knowing that Engleton intended to commit suicide after his killing spree,
Vodochodsky took many items from the house.  A rational jury could
conclude from this evidence that Vodochodsky sought to help Engleton wrap
up his affairs as part of his participation in the plan.  Finally, Vodochodsky
commented to Essary after the crime that he knew that Engleton had "gone
over the edge" when he took the deputy's gun.  A rational jury could
conclude from this evidence that Vodochodsky was still at the residence and
witnessed at least Monse' s murder, despite any claims to the contrary.

		In light of this evidence, we hold that a rational jury could have found
beyond a reasonable doubt that Vodochodsky acted with an intent to promote
or assist Engleton in committing this offense.


Id. at **5-**6.

	In comparing the two analyses, it is fascinating to note that when the "light most
favorable to the verdict" is switched off for factual sufficiency purposes, the incriminating
nature of the evidence vis-a-vis Vodochodsky essentially disappears.  No longer are any
incriminating inferences, rational or otherwise, placed upon the identical facts that are
alluded to in the legal sufficiency analysis.  Indeed, evidence that, during a telephone
conversation in the presence of Engleton, Vodochodsky whispered to his girlfriend, Sara
Lopez, not to come to the house, led to the somewhat exculpatory view by the Court as
possibly indicating Vodochodsky may have known of Engleton's plan to kill the law
enforcement personnel but "was not a party to it."  Id. at **6.

	For factual sufficiency purposes, the evidence in this case  appears to be weaker
than the evidence in Vodochodsky.  As admitted by Officer Harrison the actual gunmen
could have slipped through the perimeter and gotten away, and that it is not uncommon for
Black men to run from the Port Arthur police for a variety of reasons.  Under the Zuniga
standard, evidence of guilt can indeed "preponderate" in favor of conviction but still be
insufficient to prove the elements of the crime beyond a reasonable doubt.  Zuniga v. State,
144 S.W.3d 477, 485 (Tex. Crim. App. 2004).  "[E]vidence supporting guilt can
'outweigh' the contrary proof and still be factually insufficient under a
beyond-a-reasonable-doubt standard."  Id.  As did the Court in Vodochodsky, one can find
that all of the evidence can legally support a rational jury's conclusion, yet is nevertheless
so weak that a court's confidence in the jury's verdict is undermined under the
guilt-beyond a-reasonable-doubt standard. 

	I would sustain the factually insufficient portion of issues one and four and remand 
for a new trial.  Id. at 482. 


                                                                             _____________________________

                                                                                      DON BURGESS

                                                                                           Justice


Opinion Delivered

March 2, 2005

Publish
1.  State's Exhibit 6 is a photograph introduced during the testimony of Officer
Primm.  Primm described the photograph as depicting "money located by the house." 
Primm confirmed that there was money located in two different places.  The record does
not contain any testimony, either by exact number or approximation, indicating the total
amount of cash taken by the robbers from the Domino's cash drawer, from Dwayne
Rachal, and from Herman Washington's delivery receipts.  Therefore, whether Officer
Otis' lack of familiarity with the money depicted in State's Exhibit 6 favors the State or
the appellant is not immediately apparent.
2.  Citing two pre-Clewis cases, appellant appears to suggest the State still bears the
burden of excluding every other reasonable hypothesis except that of the guilt of the
defendant.  We note, however, the "reasonable hypothesis analytical construct" was
overruled over a decade ago.  See Geesa v. State, 820 S.W.2d 154 (Tex. Crim. App.
1991), overruled on other grounds by Paulson v. State, 28 S.W.3d 570, 573 (Tex. Crim.
App. 2000).  
3. The doctrine appears to have been misused over the years by various courts of
appeals as well as by the Court of Criminal Appeals.  See Rogers v. State, 929 S.W.2d
103, 108 n. 2 (Tex. App.--Beaumont 1996, no pet.).
4.  "Circumstantial evidence is 'direct proof of a secondary fact which, by logical
inference, demonstrates the ultimate fact to be proven.'"  See Cowan v. State, 840 S.W.2d
435, 438 n. 10 (Tex. Crim. App. 1992) (quoting Taylor v. State, 684 S.W.2d 682, 684
(Tex. Crim. App. 1984)).
5. It has been held that application of Hardesty's permissible inference does not
violate the due process requirements of the federal constitution.  See Barnes v. United
States, 412 U.S. 837, 846, 93 S.Ct. 2357, 37 L.Ed.2d 380 (1973); Jackson v. State, 12
S.W.3d 836, 839 (Tex. App.--Waco 2000, pet. ref'd).


